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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                            FLORENCE DIVISION

 United States of America,                     Crim. No. 4:08-cr-01174-TLW

       v.
                                                              Order
 George Edward Mitchum



      This matter is before the Court on Defendant George Edward Mitchum’s pro

se motion for a sentence reduction under the compassionate release statute, 18 U.S.C.

§ 3582(c)(1)(A)(i). ECF No. 204. For the reasons set forth below, Defendant’s motion

is denied.

                                   BACKGROUND

      On September 18, 2009, a jury convicted Defendant on several counts of the

Indictment: 1) one count of conspiracy with intent to distribute 50 grams or more of

cocaine base and 500 grams or more of cocaine; 2) two counts of possession with intent

to distribute a quantity of cocaine; 3) one count of using and carrying a firearm during

and in relation to a drug trafficking crime; and 4) one count of being a felon in

possession of a firearm. ECF No. 121. He was sentenced to 420 months of

imprisonment followed by a 10-year term of supervised release. ECF No. 145. BOP

records reflect that his projected release date is September 28, 2042.

                                APPLICABLE LAW

      Absent certain exceptions, a court “may not modify a term of imprisonment

once it has been imposed.” 18 U.S.C. § 3582(c). One of those exceptions is the

compassionate release statute. That statute provides, in relevant part, as follows:

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      [T]he court, . . . upon motion of the defendant . . . , may reduce the term
      of imprisonment . . . after considering the factors set forth in section
      3553(a) . . . , if it finds that—(i) extraordinary and compelling reasons
      warrant such a reduction; . . . and that such a reduction is consistent
      with applicable policy statements issued by the Sentencing Commission
      ....

18 U.S.C. § 3582(c)(1)(A). “A defendant who seeks compassionate release under

§ 3582(c)(1)(A)(i) has the burden of establishing that such relief is warranted.” United

States v. Edwards, 451 F. Supp. 3d 562, 565 (W.D. Va. 2020).

      The Sentencing Commission has issued a policy statement addressing

compassionate release motions—§ 1B1.13. But prior to the passage of the First Step

Act, compassionate release motions could only be filed by the BOP, so § 1B1.13 by its

terms only applies to BOP motions. See United States v. McCoy, 981 F.3d 271, 275–

76 (4th Cir. 2020) (explaining the First Step Act’s changes to the compassionate

release   statute).   There    is   no   corresponding   policy   statement   addressing

compassionate release motions filed by inmates. Thus, in McCoy, the Fourth Circuit

held that, when considering an inmate’s compassionate release motion, § 1B1.13 is

not an “applicable policy statement[].” Id. at 284. But while § 1B1.13 may not directly

apply to an inmate’s motion, “it remains helpful guidance.” Id. at 282 n. 7.

      While § 1B1.13 may provide guidance, it is not an “applicable policy

statement[],” so “district courts are ‘empowered . . . to consider any extraordinary and

compelling reason for release that a defendant might raise.’” McCoy, 981 F.3d at 284

(quoting United States v. Zullo, 976 F.3d 228, 230 (2d. Cir. 2020)) (emphasis in

original); see also United States v. Kibble, 992 F.3d 326 (4th Cir. 2021). Ultimately,

the determination of whether a case presents extraordinary and compelling reasons


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warranting a sentence reduction is a question reserved to the sound discretion of the

district court.

                                    DISCUSSION

       In Defendant’s motion and reply, he states that a sentence reduction is

appropriate due to the impact of COVID-19 at the facility where he is imprisoned and

because his medical conditions enhance his risk of complications if he were to contract

the virus. ECF No. 204 at 1; ECF No. 217 at 2. He also states that he contracted

COVID-19. ECF No. 217 at 1. He also argues that he would not be a danger to the

community if released. Id. at 3.

       The Government opposes his motion, arguing that he has not established that

“extraordinary and compelling reasons” warrant a sentence reduction and that the §

3553(a) factors weigh against release. ECF No. 216 at 8-13. The Government cites

the seriousness of Defendant’s federal offenses (the instant offenses) and his criminal

history in support of its argument. Id. at 12.

       In considering whether to reduce Defendant’s sentence, the Court has carefully

reviewed the Presentence Investigation Report (PSR) and has considered the

statutory penalties, the Guidelines range, applicable caselaw and statutory law, all

of the § 3553(a) factors, and his post-sentencing conduct.1 In light of those

considerations, the Court concludes that Defendant has not shown that



1 The Court has considered in its analysis each of the issues raised in Defendant’s
filings, including (1) his medical conditions in light of COVID-19; (2) the way that the
BOP is managing the pandemic at its facilities; (3) his programming and education
courses while incarcerated; and (4) his rehabilitation efforts.


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“extraordinary and compelling reasons” warrant a reduction or that the § 3553(a)

factors weigh in favor of release. The Court’s reasons for reaching this conclusion

include (1) Defendant’s medical records that indicate treatment and care, (2) the

seriousness of the instant offense, and (3) his criminal history that involves additional

significant conduct.

      As to the “extraordinary and compelling reason” standard, the Court has

considered all of the circumstances and arguments raised by Defendant and

concludes that he has not established an “extraordinary and compelling reason” that

warrants a sentence reduction. Defendant states that he has “been diagnose[d] with

high blood pressure and high cholesterol and struggle[s] with obesity.” ECF No. 204

at 1. However, he failed to provide medical records to verify those alleged conditions.

He did provide medical documentation showing he tested positive for COVID-19 on

December 20, 2020. ECF No. 217-2 at 2. The records reflect that he was proscribed

medication to treat his symptoms and was counseled on “access to care” and “plan of

care.” Id. at 5-6. Defendant did not supplement his motion with updated medical

records showing he experienced significant complications from his COVID-19

infection in December, nor did he provide medical records substantiating his alleged

underlying conditions. Therefore, the Court finds that Defendant has not established

an “extraordinary and compelling reason” that warrants release.2



2 The Court also notes, as stated in the Government’s brief, that the BOP began
administering COVID-19 vaccines to inmates and staff in January 2021. According
to BOP records, approximately 158,467 doses have been administered as of May 4,
2021. Specifically, Thomson USP (Defendant’s facility) has fully inoculated 210 staff
members and 447 inmates.
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      Even if Defendant had established an “extraordinary and compelling reason,”

the Court concludes that Defendant’s motion would still be denied based on its

analysis and balancing of the § 3553(a) factors. The Court has balanced those factors

in light of the compassionate release issues not in play at the original sentencing.

Kibble at 335 (Gregory, C.J., concurring). In conjunction with the § 3553(a) factors, it

is appropriate to highlight the facts of the instant offense and Defendant’s criminal

history. Prior to Defendant’s federal conviction, his criminal history spanned over a

decade and included the following convictions: 1) Burglary 2nd (juvenile

adjudication), 2) unlawful carrying of a weapon, 3) distribution of crack cocaine, 4)

carrying a pistol, 5) malicious injury to real property, 6) simple assault and battery

(Defendant beat the victim “about the face and other parts of his body causing severe

swelling to his face necessitating medical care”), 7) resisting arrest, 8) simple assault,

9) failure to stop for blue light and siren, 10) assault and battery, and 11) seven

convictions related to possession of marijuana. PSR ¶¶ 80-84, 86, 89, 90, 92, 93-96.

Defendant’s criminal history resulted in 18 criminal history points which placed him

in a criminal history category of VI. PSR ¶¶ 98, 99. The Court concludes that

Defendant’s criminal history weighs against release.

      After serving his sentences for those offenses he committed the instant

offenses—more significant drug and firearm crimes. The facts surrounding the

instant offenses are outlined in Paragraphs 11 – 73 of the PSR, but the Court notes

that Defendant was involved in a substantial drug trafficking operating involving

firearms. He was a significant drug dealer and was held accountable for 908 grams



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of crack cocaine and 1.39 kilograms of powder cocaine. PSR ¶ 111, ECF No. 146.

Significantly, he received a three-level enhancement for “discharging a firearm into

the residence of [the] Williamsburg County Sheriff’s Office deputy” who arrested him.

PSR ¶ 113. Specifically, Defendant shot into the residence of the officer at night when

he and his family were home. PSR ¶ 54-58. The shooting was in retaliation for

Defendant’s arrest. PSR ¶ 56. Law enforcement recovered eight (8) rounds fired from

a .223 caliber rifle. PSR ¶ 54. Defendant also received a two-level obstruction

enhancement for threatening cooperating witnesses and lying under oath. PSR ¶ 115.

Notably, Defendant threatened to kill his girlfriend if she told police about his

criminal conduct. PSR ¶ 56. A review of the facts of the instant offense leads the Court

to conclude that the seriousness of the instant offense also weighs against release.

      The Court further notes that Defendant was sentenced to 420 months—a

sentence at the bottom of the Guidelines range. The Guideline range on Counts 1, 2,

4 and 6 was 360 months to Life, and the Court imposed 360 months. PSR ¶ 148. As

to Count 5, the 924(c) gun conviction, the minimum was 60 months, and the Court

imposed that minimum consecutive to the 360 months. Id. As a result, Defendant was

sentenced to an aggregate sentence of 420 months: 360 months (bottom of the

Guideline range on Counts 1, 2, 4, and 6); 60 months consecutive on Count 5

(statutory minimum). His criminal history category was VI. That sentence was and

is necessary to reflect the seriousness of the offense, to promote respect for the law,

to provide just punishment, to afford adequate deterrence, and to protect the public.

He has served approximately 150 months of that sentence, or approximately 36



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percent. These considerations also weigh against release.

      In light of the seriousness of the instant offense, and Defendant’s criminal

history that demonstrates repetitive criminal conduct and disrespect for the law, the

Court finds that the § 3553(a) factors weigh against release. Because Defendant has

not established that an “extraordinary and compelling reason” warrants release, and

because the Court concludes that the § 3553(a) factors weigh against a reduction,

Defendant’s compassionate release motion, ECF No. 204, is DENIED.3 4

      IT IS SO ORDERED.

                                       s/ Terry L. Wooten
                                       Terry L. Wooten
                                       Senior United States District Judge

May 5, 2021
Columbia, South Carolina




3To the extent he seeks an order directing the BOP to grant him an early release to
home confinement pursuant to the CARES Act, Pub. L. No. 116-136, § 12003(b)(2),
134 Stat. 281, 516 (2020), the Court does not have discretion to issue such an order.
See, e.g., United States v. Hendrix, No. 1:10-cr-00067-MR-WCM-2, 2020 WL 2319698,
at *1 (W.D.N.C. May 11, 2020) (“The discretion to release a prisoner to home
confinement lies solely with the Attorney General. The legislation recently passed by
Congress to address the COVID-19 pandemic does not alter this.” (citations omitted)).

4 The Court has given careful and full consideration to the Fourth Circuit’s recently
issued opinion, United States v. Kibble, 992 F.3d 326 (4th Cir. 2021), and has
applied the standards set forth therein.
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